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 Fill in this information to identify the case:

   Debtor 1:         Alan Stone

   Debtor 2:
   (Spouse, if filing)

   United States Bankruptcy Court for the:          Eastern       District of       Virginia

   Case number               18-14164




 Official Form 410
  Proof of Claim                                                                                                                                                       04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.




 Part 1:           Identify the Claim


1. Who is the current
   creditor?                        Branch Banking and Trust
                                    Name of the current creditor (the person or the entity to be paid for this claim)
                                    Other Names the creditor used with the debtor


2. Has this claim been                        No
   acquired from someone
                                              Yes      From whom?
   else?

3. Where should notices             Where should notices to the creditor be sent?                                  Where should payments to the creditor be sent? (if different)
   and payments to the
   creditor be sent?
                                    Branch Banking & Trust Company, Bankruptcy Section/ 100-50-01-51

   Federal Rule of Bankruptcy Name
   Procedure (FRBP) 2002(g) PO Box 1847
                                        Number           Street

                                    Wilson                                  NC                         27894
                                       City                                 State                 ZIP Code

                                        Contact phone     (866)813-1624

                                        Contact email     Bankruptcy@BBandT.com


                                    Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                        ________________________

4. Does this claim amend                      No
   one already filed?                         Yes       Claim number on court claims registry (If known)                                    Filed on
                                                                                                                                                       MM   / DD   /    YYYY




5. Do you know if anyone                      No
   else has filed a proof of                  Yes       Who made the earlier filing?
   claim for this claim?




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 Part 2:      Give Information About the Claim as of the Date the Case Was Filed


6. Do you have any number              No
   you use to identify the            Yes Last 4 digits of the debtor's account or any number you use to identify the debtor.       5        4         0        6
   debtor?


7. How much is the claim?        $502,582.94                                Does this amount include interest or other charges?
                                                                                 No
                                                                                   Yes Attach statement itemizing interest, fees, expenses, or other
                                                                                       charges required by Bankruptcy Rule 3001©(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?                        Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Money Loaned



9. Is all or part of the claim         No
   secured?                            YesThe claim is secured by a lien on property.
                                            Nature of property:
                                                Real EstateIf the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                           Attachment (Official Form 410-A) with this Proof of Claim.
                                                 Motor vehicle
                                                 Other. Describe:


                                            Basis for perfection:           See Attached
                                            Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                            example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                            been filed or recorded.)


                                            Value of property:                              $0.00
                                            Amount of the claim that is secured:            $502,582.94

                                            Amount of the claim that is unsecured:          $0.00                 (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                            Amount necessary to cure any default as of the date of the petition:


                                            Annual Interest Rate (when case was filed)      3.500%
                                                Fixed
                                                 Variable


10. Is this claim based on a           No
    lease?                             YesAmount necessary to cure any default as of the date of the petition.                $                            -


11. Is this claim subject to a         No
    right of setoff?
                                       YesIdentify the property:




Official Form 410                                                     Proof of Claim                                                                   page 2




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      Is all or part of the claim           No
12.
      entitled to priority under
      11 U.S.C. § 507(a)?                   Yes. Check one:                                                                                 Amount entitled to priority
                                                  Domestic support obligations (including alimony and child support) under
      A claim may be partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                    $                        -
      priority and partly
      nonpriority. For example,                    Up to $2,850* of deposits toward purchase, lease, or rental of property or
      in some categories, the                      services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                  $                        -
      law limits the amount                        Wages, salaries, or commissions (up to $12,850*) earned within 180 days before
      entitled to priority.                        the bankruptcy petition is filed or the debtor’s business ends, whichever is
                                                   earlier.
                                                   11 U.S.C. § 507(a)(4).                                                                   $                        -

                                                   Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                                                                                                                            $                        -
                                                   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).
                                                                                                                                            $                        -
                                                   Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                        $                        -

                                            * Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adju


 Part 3: Sign Below
The person completing
                                    Check the appropriate box:
this proof of claim must
sign and date it.                            I am the creditor.
FRBP 9011(b).                               I am the creditor's attorney or authorized agent.
If you file this claim
                                            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
5005(a)(2) authorizes courts                I am the guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
to establish local rules
specifying what a signature         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
is.                                 amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,               and correct.
imprisoned for up to 5
years, or both.                     I declare under penalty of perjury that the foregoing is true and correct.
18 U.S.C. §§ 152, 157, and          Executed on date           3/1/2019
3571.
                                                          MM / DD / YYYY



                                                                           /s/Jo Ann Farmer
                                            Signature

                                    Print the name of the person who is completing and signing this claim:

                                    Name                  Jo                                    Ann                                   Farmer
                                                          First name                            Middle name                           Last name

                                    Title                                                            Assistant Vice President

                                    Company               Branch Banking & Trust Company (hereafter collectively "BB&T")
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.


                                    Address               PO Box 1847
                                                          Number      Street
                                                          Wilson,                                       NC               27894
                                                          City                                                   State           ZIP Code
                                    Contact phone         (866)813-1624                                              Email       Bankruptcy@BBandT.com




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    Mortgage Proof of Claim Attachment                                                                                                                                                                         (12/15)
                       If you file a claim secured by a security interest in the debtor’s principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.


Part 1: Mortgage and Case Information                            Part 2: Total Debt Calculation                     Part 3: Arrearage as of Date of the Petition             Part 4: Monthly Mortgage Payment
Case number:                    18-14164                         Principal balance:                     494967.81 Principal & interest due:                                  Principal & interest:
Debtor 1:                       Alan Stone                       Interest due:                              6289.03 Prepetition fees due:                                    Monthly escrow:
                                                                                                                    Escrow deficiency for funds
Debtor 2:                                                        Fees, costs due:                            383.68 advanced:                                                Private mortgage insurance:
                                                                 Escrow deficiency for funds                                                                                 Total monthly
Last 4 digit to identify:       5    4   0   6                   advanced:                                          Projected escrow shortage:                               payment:                      $        -
                                 ___ ___ ___ ___                                                   942.42
Creditor:                       Branch Banking and Trust         Less total funds on hand:     -                    Less funds on hand:

Servicier:                                                       Total debt:                       $   502,582.94 Total prepetition arrearage:           $               -
Fixed accrual/daily simple
interest/other


Part 5 : Loan Payment History from First Date of Default

                            Account Activity                                                       How Funds Were Applied/Amount Incurred                           Balance After Amount Received or Incurred
A.       B.                 C.       D.          E.              F.          G.                    H.        I.          J.     K.        L.                       M.        N.       O.        P.         Q.
Date     Contractual        Funds    Amount      Description     Contractual Prin, int & esc       Amount Amount Amount Amount to Unapplied                        Principal Accrued Escrow Fees /         Unapplied
         Payment            received incurred                    due date    past due              to        to interest to     fees or   funds                    balance interest   balance Charges funds
         Amount                                                              balance               principal             escrow charges                                      balance            balance balance



                      Please see the attached
                         Payment History




Official Form 410A                                                                           Mortgage Proof of Claim Attachment                                                                                page 1 of




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                                                               Financial Calculations
Fees
                   Attorney Fees and Cost That Have Been Incurred But Not Applied to the Account
         Fees and Costs from FCL ATTY as of                     12/13/2018                       (LPS Request)             * Not assessed to the loan
Fee Type                   Date                                 Amount                           *Do you have the invoice? If Other, Specify




                       Total                                     $                         -
                                                           * You must have an invoice before including the fees in the POC



                                                                     Recoverable Fees
                    *The subtotal of each fee type can be entered. A transactional level detail for fees can be found in the Payment History.
Fee Type                       Date(s)                          Amount                           *Do you have the invoice? If Other, Specify




ATTY                           (from above)                      $                         -
           Total                                                 $                         -




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Payoff
Interest Calculation
FHA?                         No
      If yes, how many new                             *This only applies when the BK filed in a previous
     PMTs have come due?                               month than the month in which the Payoff is pulled.
BK Filing Date                          12/13/2018
Payoff As Of Date                        2/28/2019
Days Since Filing                               77
Per Diem Amount or FHA
Monthly Interest             $               47.46
Interest Incurred After
Filing                       $            3,654.42

 Payments Received After 12/13/2018
Date                     Amount




Total                        $                 -

Payoff Calculations
$             506,356.92 Payoff Total
                                                            Interest Charged
                          - $             3,654.42             (after filing)
                                                           Post-Petition Fees
                          -                $119.56           (being waived)
                          + $                  -           Payment Received
                                                           Recoverable Fees
                        + $                     -          (not yet assessed)
$             502,582.94                Payoff as of           12/13/2018




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